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                        EXHIBIT A




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From:            Sotlropoulos. Anastasia MCCH! • X66036l
To:              "KeUy wiJHams@aztecusa.com"; "tdk@mkwlaw.com"
Cc:              "leoal@alterclomus.com": "samuel.buhler{malterdomus.com": Dustln.Thomoson@alterdomus.com;
                 Gavin.White@atterdomus.com; Joev.Catanla@alterdomus.com; Spencer. Joshua M(CHI · X65709l
Bee:             Sieger. John p,: Cundy. Stacy A.: Aocon.Qavld@aiq.com: Maurrce,Horwttz.®aiq.com: Eric.Newfield@aig.com:
                 Borenstein, Evan S,: Rasmussen. Marko.: John.Verzosa@aig.com: "Yager Allison E."
Subject:         Cortland/ Aztec · Pledge Enforcement Letter
Date:            Tuesday, November 17, 2020 5: 58: 11 PM
Attachments :    Cortland Aztec · Pledge Enforcement Letter CExecutedl 804835'16 1.PPE

All,


Reference is made to that certain First Lien Credit Agreement dated as of February 13, 2019 (as
amended, restated, supplemented or otherwise modified and in effect as of the date hereof, the
"Credit Agreement"), by and among Aztec/ Shaffer, LLC, as borrower ("Borrower"), ASAIG, LLC as
guarantor ("ASAIG"), Cortland Capital Market Services LLC as Term Loan Agent and collateral agent
("Collateral Ag:ent"), Texas Capital Bank, National Association, as the Revolving Agent, and the
financial institutions party thereto from time to time as lenders.


On behalf of Cortland Capital Market Services LLC, in its capacity as Collateral Agent, attached please
find the executed Pledge Enforcement Letter.


Please confirm receipt.


Best,
Anastasia


Anastasia Sotiropoulos      I Holland & Knight
Associate
Holland & Knight LLP
150 N. Riverside Plaza, Suite 2700         I Chicago,     Illinois 60606
Phone 312.928.6036 I Fax 312.578.6666
anastasia.sotiropoulos@hklaw.com I www.hklaw.com
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 alterDomus*
November 17, 2020

VIA FEDEX A D EMAIL

Aztec I Shaffer, LLC and ASAIG, LLC
c/o WoodRock & Co.
601 W. 6th Street
Houston, TX 77007
Attn: A. Kelly Williams
Kelly.williams@aztecusa.com

L. Don Knight
8100 Washington Ave., Suite 1000
Houston, TX 77007
ldk@mkwlaw.com

Re:                Notice of Exercise of Certain Rights Pursuant to First Lien Credit
                   Agreement and First Lien Security Agreement

Ladies and Gentlemen:

        Reference is hereby made to (i) that certain First Lien Credit Agreement dated as of
February 13, 2019 (as amended, restated, supplemented or otherwise modified and in effect as of
the date hereof, the "Credit Agreement"), by and among Aztec / Shaffer, LLC, as borrower
("Borrower"), ASAIG, LLC as guarantor ("ASAIG"), Cortland Capital Market Services LLC as
Term Loan Agent and Collateral Agent ("Collateral Agent"), Texas Capital Bank, National
Association, as the Revolving Agent ("Revolving Agent"), and the financial institutions party
thereto from time to time as lenders ("Lenders") and (ii) that certain First Lien Security
Agreement dated as of February 13, 2019 (as amended, restated, supplemented or otherwise
modified and in effect as of the date hereof, the "Security Agreement"), by and among Borrower
and ASAIG as grantors (collectively, in such capacity, "Grantors") and Collateral Agent.
Capitalized terms used herein but not defined herein shall have the meanings ascribed to them in
the Security Agreement or, if not in the Security Agreement, in the Credit Agreement.

        Events of Default have occurred and are continuing under the Credit Agreement,
including, without limitation, those identified on Exh ibit A hereto (collectively the " pecifred
Events of Default").

       As a result of the continuation of the Specified Events of Default, Collateral Agent
hereby gives written notice to Grantors that, effective immediately, pursuant to Section 15 of the
Security Agreement, (i) ASAIG is no longer entitled to exercise voting rights, and all other
ownership or other consensual rights in respect of all Pledged Equity and (ii) Collateral Agent

*
Alter Domus (US) LLC
Tel. +1312 564 5100
225 W. Washington Street, 9th Floor
Chicago, IL 60606

www .alterDomus.com
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shall, in its capacity as duly appointed and acting agent, proxy and attorney-in-fact of ASAIG,
from and after the date hereof, have the sole right to exercise all voting and other consensual
rights, powers, privileges and remedies to which a holder of the Pledged Equity would be
entitled, including, without limitation, giving or withholding written consents, calling special
meetings, and voting at such meetings, provided, however, that for the avoidance of doubt,
nothing herein shall cause the transfer of the Pledged Equity to the Collateral Agent.

        As set forth in Sections 10 and 15 of the Security Agreement, all powers, authorizations
and agencies contained in the Security Agreement are coupled with an interest and are
irrevocable and shall only terminate upon Payment in Full. In its capacity as ASAlG's attorney-
in-fact, Collateral Agent has executed the written consent attached hereto as Exhibit B (the
"Member Consent"), which by its terms shall become effective immediately and automatically
upon delivery of this letter, pursuant to which Collateral Agent, in its capacity as the duly
appointed and acting agent, proxy and attorney-in-fact of ASAlG, as sole member of the
Borrower, will amend and restate Borrower's amended and restated limited liability company
agreement.

        Furthermore, in accordance with Sections 15 and 27 of the Security Agreement, all rights
of ASAIG to receive and retain any and all cash dividends and distributions, payments or other
Proceeds paid in respect of the Pledged Equity shall immediately cease and any such
distributions, dividends, other property paid or payable with respect to such Pledged Equity shall
be paid to Collateral Agent. In connection with this notice, Collateral Agent hereby informs
Grantors that it is exercising its rights under the Security Agreement (including, without
limitation, pursuant to Section 15 thereof) to take action by written consent with respect to the
matters set forth in the exhibits attached hereto and that ASAI G's rights to vote any and all of the
Pledged Equity and other Investment Related Property representing equity interests in Borrower
(collectively "Applicable Equity"), and that the Grantors' rights to exercise any other rights
pertaining to the Applicable Equity, are hereby terminated. Effective immediately, the Collateral
Agent has the sole and exclusive right to exercise any and all voting and other rights with respect
to the Applicable Equity as provided in Section 15 of the Security Agreement. As noted above,
pursuant to Sections IO and 15 of the Security Agreement, all powers, authorizations and
agencies contained in the Security Agreement are coupled with an interest and are irrevocable
until Payment in Full.

         Additionally, as a result of Collateral Agent's exercise of the rights and remedies detailed
in this notice, each of you is hereby given notice of the attached Member Consent and the actions
taken thereby.

        The Grantors are and shall remain liable for all accrued and accruing interest, fees,
charges and other amounts (including, without limitation, unpaid principal, legal fees and
expenses) due under the Credit Agreement and the other Loan Documents until all such amounts
are indefeasibly paid in full.

        Nothing herein is intended or shall be deemed or construed to constitute a waiver of any
past, present or future Default or Event of Default under the Credit Agreement or any other Loan
Document and shall not directly or indirectly: (i) impair, prejudice or otherwise adversely affect
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Collateral Agent's or any Lender's right at any time to exercise any right, privilege or remedy in
connection with the Security Agreement, Credit Agreement, any other Loan Document or any
other agreement, document or instrument, (ii) amend or alter any provision of the Security
Agreement, Credit Agreement, any other Loan Document or any other agreement, document or
instrument, or (iii) constitute any course of dealing or other basis for altering any obligation of
ASAIG, Borrower or any other Grantor or any right, privilege or remedy of Collateral Agent or
any Lender under the Security Agreement, Credit Agreement, any other Loan Document or any
other agreement, document or instrument or constitute any consent by Collateral Agent or any
Lender to any prior, existing or future violations of the Security Agreement, Credit Agreement or
any other Loan Document. Col1ateral Agent hereby expressly reserves, on behalf of itself and
the Lenders, all rights and remedies available to the Collateral Agent and Lenders on account of
all Defaults and Events of Default in existence from time to time, including, without limitation,
the Events of Default described above, whether such rights and remedies arise as a matter of law,
in equity, pursuant to any Loan Document, or otherwise. In addition, the Collateral Agent and
Lenders reserve their right to strictly enforce any and all covenants, conditions and provisions of
the Credit Agreement and the Loan Documents (including, without limitation, the exercise of all
rights and remedies thereunder with respect to the Events of Default described above) and to
demand strict and absolute compliance with such covenants, conditions and provisions.

                                     Very truly yours,

                                     Cortland Capital Market Services LLC,
                                     as Collateral Agent


                                     By:       ..-.--~
                                          _ _...,)'--·~
                                                      ~ ~
                                                        -- - - -
                                     Name: Jon Kirschmeier
                                     Its:  Associate Counsel
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                                            Exhibit A
                                   Specified Events of Default

              Total Leverage Ratio. Borrower has breached the Total Leverage Ratio financial
covenant under Section 8.9 of the Credit Agreement for each of the twelve (12) month periods
ending June 30, 2019, September 30, 2019, December 31, 2019, March 31, 2020, June 30, 2020
and September 30, 2020. Failure to comply with this financial covenant is a continuing Event of
Default under Section 9.1 (c) of the Credit Agreement.

               Restricted Payments. Borrower has breached Section 8.4 of the Credit Agreement
by making Restricted Payments in the aggregate amount of $270,000 since the Agreement Date
and prior to the date hereof. Failure to comply with Section 8.4 of the Credit Agreement is a
continuing Event of Default under Section 9.1 (c) of the Credit Agreement.

                  hareholder Indebtedness Payments. Borrower has breached Sections 8.1, 8.4, 8.6
and 8.15 of the Credit Agreement by allowing undisclosed purported shareholder indebtedness to
exist and making payments in respect of such purported indebtedness. Failure to comply with
Sections 8.1, 8.4, 8.6 and 8.15 of the Credit Agreement is a continuing Event of Default under
Section 9. l(c) of the Credit Agreement. Furthermore, failure to disclose such purported
shareholder indebtedness constitutes a breach of the representations and warranties contained in
Sections 5.1 (k), (n) and (r) of the Credit Agreement. Such breach of Sections 5.1 (k), (n) and (r)
of the Credit Agreement is a continuing Event of Default under Section 9.1 (a) of the Credit
Agreement.

              Scheduled Amortization Payments. Borrower has breached Sections 2.6(b) of the
Credit Agreement by failing to make Scheduled Amortization Payments in respect of the initial
Term Loans and the Delayed Draw Term Loan on the last Business Day of the calendar quarters
ending March 31, 2020, June 30, 2020 and September 30, 2020. Failure to comply with this
financial covenant is a continuing Event of Default under Section 9.1 (b) of the Credit
Agreement.

                Interest Payments.   Borrower has breached Sections 2.3(a) of the Credit
Agreement by failing to make required interest payments on the Term Loans and Delayed Draw
Term Loans when due on February 18, 2020, March 20, 2020, April 20, 2020, May 20, 2020,
June 22, 2020, July 22, 2020, August 24, 2020, September 24, 2020 and October 26, 2020.
Failure to comply with this financial covenant is a continuing Event of Default under Section
9.1(6) of the Credit Agreement.

               Unused Fees. Borrower has breached Sections 2.4(c) of the Credit Agreement by
failing to make required DDTL Ticking Fee payments when due on March 31, 2020, June 30,
2020 and August 13, 2020. Failure to comply with this financial covenant is a continuing Event
of Default under Section 9.1 (b) of the Credit Agreement.

              Term Loan Agent Fee. Borrower has breached Sections 2.4(b)(ii) of the Credit
Agreement by failing to make required the "Admin Fee" (as defined in the Term Loan Agent Fee
Letter) payment in the amount of $30,000 to the Term Loan Agent when due on February 13,
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2020. Failure to comply with this financial covenant is a continuing Event of Default under
Section 9. I (b) of the Credit Agreement.
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                            Exhibit B
                          Member Consent

                            (see attached)
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                                    WRITTEN CONSENT
                        OF THE SOLE MEMBER IN LIEU OF MEETING OF
                                  AZTEC/SHAFFER,LLC

                                            November 17, 2020

            The undersigned (the "Member Attorney-In-Fact"), in its capacity as authorized proxy

     and duly appointed attorney-in-fact for the sole member (the "Member") of Aztec I Shaffer,

     LLC, a Texas limited liability company (the "Company"), pursuant to the Amended and

     Restated Limited Liability Company Agreement of the Company (as amended by Amendment

     No. I thereto, the "Operating Agreement"), hereby waives the calling or holding of a meeting of

     the Company's members and does hereby approve and adopt the following resolutions and

     consents in writing, effective as of the date first set forth above, to the actions set forth below,

     and directs that this written consent (this "Consent") be filed with the minutes and proceedings

     of the Company:

I.      Amendment and Restatement of Operating Agreement.

           WHEREAS, pursuant to Sections IO and 15 of that certain First Lien Security
   Agreement dated as of February 13, 2019 (as amended, restated, supplemented or otherwise
   modified and in effect as of the date hereof, the "Security Agreement") by and among the
   Company, each other party executing or joining the Security Agreement as a "Grantor"
   thereunder, and Cortland Capital Market Services LLC, as collateral agent ("Collateral Agent")
 . for all Lenders party to that certain First Lien Credit Agreement dated as of February 13, 2019
   (as amended, restated, supplemented or otherwise modified and in effect as of the date hereof,
   the "Credit Agreement"), by and among the Company, Collateral Agent, Co11land Capital
   Market Services LLC, as administrative agent, Texas Capital Bank, National Association, as
   revolving agent, the Lenders party thereto and each other party executing or joining the Credit
   Agreement, the Member Attorney-in-Fact has the right to exercise all voting and other
   consensual rights of the Member in an Event of Default (as defined in the Credit Agreement)
   under the Credit Agreement;

       WHEREAS, pursuant to Section 13 of the Operating Agreement, the Operating
 Agreement may be amended by the Member; and

        WHEREAS, the Member Attorney-in-Fact, acting in its authorized capacity, has
 determined that it is in the best interests of the Company to amend and restate the Operating
 Agreement, in its entirety in the form attached hereto as Exhibit A (the "Second A&R Operating
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       Agreement"), to, among other .things, remove the existing Managers and appoint Timothy R.
       Hassenger of Riverbend Solutions Group, Inc., as the Manager, which the Member Attorney-in-
       Fact is executing and delivering concurrently herewith.

             NOW, THEREFORE, BE IT RESOLVED, that the Second A&R Operating
       Agreement is hereby adopted and approved, effective immediately.

 II.       Remova l of Manager .

             WHEREAS, the Member Attorney-in-Fact deems it advisable and in the best interests of
       the Company to remove all existing Managers.

              NOW, THEREFORE, BE IT RESOLVED, the existing Managers are hereby removed
       from their positions as Mangers of the Company, effective immediately.

III.      Appointment of Manager.

               WHEREAS, the Member Attorney-in-Fact deems it advisable and in the best interests of
       the Company to appoint Timothy R. Hassenger of Riverbend Solutions Group, Inc., as Manager
       of the Company to serve until the earlier of (i) election of his or her successor in accordance with
       the Second A&R Operating Agreement, or (ii) his resignation, removal or death.

               NOW, THEREFORE, BE IT RESOLVED, that, as set forth in Section 8(d) of the
       Second A&R Operating Agreement, Timothy R. Hassenger of Riverbend Solutions Group, Inc.
       shall be duly elected and appointed as Manager of the Company, effective immediately.

IV.       Dead Hand Provisions.

              WHEREAS, any provision in any organizational document of the Company that requires
      or purports to grant prior authorization of (a) the filing of any case, action or proceeding before
      any court or other governmental authority relating to bankruptcy, reorganization, insolvency,
      liquidation, receivership, dissolution, winding-up or other relief of debtors, or (b) the making of
      any general assignment for the benefit of creditors, composition, marshaling of assets for
      creditors, or other similar arrangement in respect of its creditors generally or any substantial
      portion of its creditors, in each case in (a) and (b) above, undertaken under U.S. federal, state or
      foreign law, including the United States Bankruptcy Code (each, a "Dead Hand Provision")
      constitutes a per se violation of applicable law, the duties of care and loyalty, and the implied
      covenant of good faith and fair dealing.

              NOW THEREFORE BE IT RESOLVED, that any and all Dead Hand Provisions shall
      be deemed null and void ab initio, and the Company shall not, and shall cause each of its
      officers, employees, consultants, agents and other representative not to take any action or assist
      any third party in taking any action designed to enforce or otherwise give effect to any Dead
      Hand Provision.




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V.      Miscellaneous.

             FURTHER RESOLVED, that the Manager is authorized, empowered and directed to
     take or cause to be taken any and all actions, to make all payments, to make any filings or other
     submissions with any governmental authority, and to negotiate, enter into, execute and deliver
     any and all agreements, instruments and other documents as may be necessary, appropriate,
     convenient or proper to effectuate the intent of, and the transactions contemplated by, the
     foregoing resolutions, such agreements, instruments and other documents to be in such form and
     to contain such terms and conditions as may be necessary, appropriate, convenient or proper;

             FURTHER RESOLVED, that all actions taken by any member, manager, officer, agent
     or attorney of the Company relating to the foregoing resolutions and the transactions
     contemplated thereby are hereby adopted, ratified, confirmed and approved in all respects as the
     acts and deeds of the Company; and

             FURTHER RESOLVED, that for purposes of these resolutions, a facsimile copy or an
     e-mail of a PDF file containing a copy of the signature page of the person executing these
     resolutions shall be effective as an original signature and effective as an execution copy thereof.


                                Remainder ofpage left blank intentionally,·
                                        Signature page follows.




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        IN WITNESS WHEREOF, the undersigned has executed this Consent on and as of the
17th day of November, 2020.


ASAIG,LLC,
a Texas limited liability company

By: Cortland Capital Market Services LLC, as
Collateral Agent (exercising the voting rights
of ASAIG, LLC, the Sole Member of the
Aztec I Shaffer, LLC pursuant to that certain
First Lien Security Agreement, dated as of
February 13, 2019, by and among the Grantors
and Cortland Capital Market Services LLC, as
Collateral Agent and the power of attorney as
well as the irrevocably proxy granted
thereunder)




       rr-~
By: _ _ J--~
          - -       - - -- - -
Name: Jon Kjrschmeier

Title: Associate Counsel




            [Signature Page to Wrilten Consent ofSole Member ofAccent Food Services, LLC]
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                               Exhibit A

            Second Amended and Restated Operating Agreement
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                          SECOND AMENDED AND RESTATED
                      LIMITED LIABILITY COMP ANY AGREEMENT
                                        OF
                               AZTEC/SHAFFER,LLC

                               A Texas Limited Liability Company

        This SECOND AMENDED AND RESTATED LIMITED LIABILITY COMPANY
AGREEMENT (this "Agreement") OF AZTEC/ SHAFFER, LLC (the "Company"), dated as of
November 17, 2020, is entered into by and between the Company and ASAIG, LLC, a Texas
limited liability company and the sole member of the Company (the "Sole Member") .

        WHEREAS, on May 15, 2015, the Company was formed as a limited liability company
pursuant to and in accordance with the Texas Business Organization Code, as amended from time
to time (the "Code");

      _ WHEREAS, each member (each an "Original Member", and collectively, the "Original
Members") party to that certain Limited Liability Company Agreement of Aztec / Shaffer, LLC,
dated as of May 15, 2015 (the "Original Agreement"), assigned all of its issued and outstanding
membership interests in the Company pursuant to those ce1tain Assignments Separate from
Interest, dated as of February I, 2019, by each of the Original Members and the Sole Member;

        WHEREAS, on February I, 2019, the Sole Member entered into that certain Amended and
Restated Limited Liability Company Agreement of Aztec / Shaffer, LLC (as amended by
Amendment No. 1 dated August 14, 2019, the "Current Agreement"), which amended and restated
the Original Agreement;

        WHEREAS, the Company is a party to (i) that certain First Lien Credit Agreement dated
as of February 13, 2019 (as amended, restated, supplemented or otherwise modified and in effect
as of the date hereof, the "Credit Agreement"), by and among the Company, as borrower, the Sole
Member, as guarantor, Cortland Capital Market Services LLC as Term Loan Agent and Collateral
Agent ("Collateral Agent"), Texas Capital Bank, National Association, as Revolving Agent, and
the financial institutions pa1ty thereto from time to time as lenders, and (ii) that certain First Lien
Security Agreement dated as of February 13, 2019 (as amended, restated, supplemented or
otherwise modified and in effect as of the date hereof, the "Security Agreement"), by and among
the Company and the Sole Member, as grantors, and the Collateral Agent;

       WHEREAS, pursuant to Section 15 of the Security Agreement, in an Event of Default (as
defined in the Credit Agreement), the Collateral Agent may exercise all voting rights of the Sole
Member under an irrevocable proxy and may further exercise all other rights, powers, privileges
and remedies to which the Sole Member would be entitled;

      WHEREAS, certain Events of Default have occurred and are continuing under the Credit
Agreement; and

        WHEREAS, the Sole Member, acting through the Collateral Agent as its duly appointed
agent, proxy and attorney-in-fact in accordance with its authority under the Security Agreement
(the "Member Attorney-in-Fact"), desires to amend and restate the Current Agreement in its
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entirety, to, among other things, remove the existing Managers and appoint Timothy R. Hassenger,
as the Manager.

        NOW, THEREFORE, upon execution and delivery hereof by the Member Attorney-In-
Fact, the Current Agreement shall be amended and restated as follows:

        l.     Formation. On May 15, 2015, the Company was formed as a limited liability
company pursuant to the provisions of the Code. Prior to the date hereof, the Original Members
assigned all of their membership interests in the Company to the Sole Member and the Sole
Member was admitted to the Company as the sole member of the Company. The Sole Member
hereby continues the Company as a limited liability company pursuant to the Code and this
Agreement. The rights and obligations of the Sole Member and the administration and termination
of the Company shall be governed by this Agreement and the Code. In the event of any
inconsistency between any terms and conditions contained in this Agreement and any
non-mandatory provisions of the Code, the terms and conditions contained in this Agreement shall
govern.

       2.     Name. The name of the Company is "Aztec / Shaffer, LLC" and the business of
the Company shall be conducted under that name, or any other name adopted by the Board (as
defined below) in accordance with the Code.

       3.      Term. The Company shall have perpetual existence.

        4.      Purpose. The purpose of the Company is to carry on any lawful business, purpose
or activity for which limited liability companies may be formed under the Code.

        5.      Sole Member. The Sole Member shall be the sole member of the Company. The
Sole Member shall not have any liability for the obligations or liabilities of the Company except
to the extent provided for in the Code. For the avoidance of doubt, the Member Attorney-In-Fact
has no interest, beneficial or otherwise, in the membership interests in the Company other than the
rights over such interests conferred to the Member Attorney-In-Fact pursuant to the Security
Agreement.

        6.      Distributions. The Sole Member shall be entitled (a) to receive all distributions
(including, without limitation, liquidating distributions) made by the Company, and (b) to enjoy
all other rights, benefits and interests in the Company, subject to the rights of the Member
Attorney-In-Fact pursuant to the Security Agreement.

       7.       Taxes. The Board shall prepare and timely file (on behalfofthe Company) all state
and local tax returns, if any, required to be filed by the Company.

       8.     Management by Board of Managers.

               (a)     Except as otherwise provided herein or as required by applicable law, and
       subject to the delegation of rights and powers as provided for in this Agreement,
       management of the Company shall be vested exclusively in a Board of Managers (the
       "Board''), consisting of one or more Managers (as used in the Code) appointed, from time
       to time, by the Sole Member (the "Managers"). The Board shall have the sole right and


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   authority to manage the business of the Company, and have the power to do any and all
   acts necessary, convenient or incidental to or for the furtherance of the purposes described
   herein, including all powers, statutory or otherwise. Without limiting the Board's authority
   under the preceding sentence, the Board shall have all right, power and authority to
   manage, operate, and control the business and affairs of the Company and to do or cause
   to be done any and all acts, at the expense of the Company, deemed by the Board to be
   necessary or appropriate to effectuate the purposes of the Company including, but not
   limited to, any actions related to the Company's purchase, acquisition, ownership,
   management, operation, leasing, hypothecation, mortgage or pledge of real or personal
   property acquired by the Company, the Sole Member or any of their affiliates, or the
   incurrence of indebtedness by the Company, including any debt financing in connection
   with the acquisition of such property and any refinancing thereof.

           (b)     Subject to the control of the Board, each Manager shall have equal rights in
   the management and conduct of the Company's business, and shall have all powers and
   rights necessary, appropriate or advisable to effectuate and carry out the purposes and
   business of the Company; provided, however, that in the event the number of Managers on
   the Board is more than one ( 1), no individual Manager may bind the Company without the
   approval of the Board. In addition, no Manager shall have the authority to act on behalf of
   the Company with respect to any act that would have required the consent or approval of
   the Board, unless such act was authorized by the Board.

           (c)     Each Manager shall be entitled to one vote on al I matters upon which the
   Managers are entitled to vote (whether at a meeting of the Board or of any committee
   thereof or otherwise or by written consent).

           (d)     The current Board shall consist of one ( 1) Manager. Timothy R. Hassenger
   is hereby appointed as the Manager of the Company to serve on the Board until his
   successor shall have been appointed and qualified or until his earlier resignation, removal,
   disqualification or death.

           (e)     A Manager may be removed, at any time or for any reason (or no reason)
   by the Sole Member. A Manager may resign at any time upon notice thereof to the Board
   or the Sole Member, and no acceptance of such resignation shall be necessary. Any
   vacancies on the Board shall be filled by the Sole Member, in its sole discretion, or may be
   tilled by the remaining Managers on the Board.

            (f)    The Board may delegate such authority to manage the Company to such
   individuals or other entities as the Board from time to time may designate and may revoke
   any such delegation at any time, including, without limitation, the appointment of natural
   persons to act as officers of the Company. The officers of the Company, if any are
   appointed, shall act under the supervision and at the direction of and subject to any
   restrictions imposed by the Board.

                  (i)     The officers shall perform such functions as are provided herein or
          as directed by the Board.




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                        (ii)    The Board may delegate to any officer of the Company or to any
                other natural person such authority to act on behalf of the Company as the Board
                may from time to time deem appropriate in its sole discretion. No person so
                authorized to act on behalf of the Company shall have the authority to act on behalf
                of the Company with respect to any act that would have required the consent or
                approval of the Board, unless such act was authorized by the Board. Subject to the
                rights, if any, of an officer under a contract of employment, an officer may be
                removed, either with or without cause, by the Board at any time.

                        (iii)   Officers shall serve until their successors are appointed and qualify,
                unless the applicable officer sooner dies, resigns, is disqualified or is removed by
                the Board. Vacancies in any office because of death, resignation, removal,
                disqualification, or other cause shall be filled by a vote of the Board at any regular
                or special meeting of the Board (or by written consent).

                       (iv)    Unless the Board otherwise decides, if the title of an officer
               appointed by the Board is one commonly used for officers of a business corporation
               formed under the Code, the assignment of such title shall constitute the delegation
               to such officer of the authority and duties that are normally associated with that
               office, subject to any specific delegation of authority and duties made to such
               officer by the Board pursuant to this Agreement.

         9.     Pledge of Interests. Notwithstanding anything contained herein to the contrary, the
Sole Member shall be permitted to pledge or hypothecate any or all of its interests in the Company,
 including all "membership interests" (as such term is defined in Section 1.002 (54) of the Code),
rights to participate in the management and control of the business and affairs of the Company,
and status rights as a "member" (as such term is defined in Section I .002 (53) of the Code), to any
lender to the Company or an affiliate of the Company or any agent acting on such lender's behalf,
and any transfer of such interests in the Company pursuant to any such lender's (or agent's)
exercise of remedies in connection with any such pledge or hypothecation shall be permitted under
this Agreement with no fu11her action or approval required hereunder. Notwithstanding anything
contained herein to the contrary, upon the occurrence and continuance of an event of default under
the financing giving rise to any pledge or hypothecation of interests in the Company, the lender
(or agent) shall have the right, as set forth in the applicable pledge or hypothecation agreement,
and without further approval of the Sole Member or any other person and without becoming the
Sole Member, to exercise the membership/partnership voting rights of the Sole Member.
Notwithstanding anything contained herein to the contrary, and without complying with any other
procedures set forth in this Agreement, upon the transfer of any interests in the Company pursuant
to the exercise of remedies in connection with a pledge or hypothecation, (a) the lender (or agent)
or transferee of such tender (or agent), as the case may be, shall become the Sole Member under
this Agreement and shall succeed to all of the rights and powers, including the right to participate
in the management of the business and affairs of the Company, and shall be bound by all of the
obligations, of the Sole Member under this Agreement without taking any further action on the
part of such lender (or agent) or transferee, as the case may be, and (b) following such transfer, the
original Sole Member shall cease to be the Sole Member and shall have no further rights or powers
unde1· this Agreement. The execution and delivery of this Agreement by the Sole Member shall
constitute any necessary approval of the Sole Member under the Code to the foregoing provisions


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of this Section 9. This Section 9 may not be amended or modified so long as any of the interests
in the Company is subject to a pledge or hypothecation without the pledgee's (or the transferee of
such pledgee's) prior written consent. Each recipient of a pledge or hypothecation of the interests
in the Company (and the transferee of such pledgee) shall be a third party beneficiary of the
provisions of this Section 9.

        10.     Exculpation and Indemnity. Notwithstanding any other prov1s1ons of this
Agreement, whether express or implied, or any obligation or duty at law or in equity, none of the
Sole Member, the Member Attorney-In-Fact, the Managers or the officers (individually a
"Covered Person" and, collectively, the "Covered Persons") shall be liable or accountable in
damages or otherwise to the Company for any act or omission done or omitted by a Covered Person
in good faith, unless such act or omission constitutes willful misconduct. The Company shall
indemnify each Covered Person to the fullest extent permitted by law against any loss, liability,
damage, judgment, demand, claim, cost or expense incurred by or asserted against the Covered
Person (including, without limitation, reasonable attorneys' fees and disbursements incurred in the
defense thereof) arising out of any act or omission of the Covered Person in connection with the
Company, unless such act or omission constitutes bad faith, gross negligence or willful misconduct
on the part of the Covered Person.

         11.    Dissolution. The Company shall dissolve and its affairs shall be wound up at such
time, if any, as the Sole Member may elect. No other event will cause the Company to dissolve.

       12.    Governing Law. This Agreement is governed by and shall be construed               111
accordance with the laws of the State of Texas (excluding its conflict-of-laws rules).

        13.     Amendments. This Agreement may be amended only pursuant to an instrument
signed by the Member Attorney-in-Fact so long as one or more Events of Default (as defined in
the Security Agreement) have occurred and are continuing. For the avoidance of doubt,
notwithstanding anything herein to the contrary, in no event shall the Member take any action (or
omit to take any action) hereunder without the prior written consent of the Member Attorney-in-
Fact so long as one or more Events of Default (as defined in the Security Agreement) have occurred
and are continuing.

                                    [Signature Page Follows]




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        IN WITNESS WHEREOF, each of the undersigned, acting through its duly appointed
attorney-in-fact and proxy or representative, has caused this Agreement to be executed as of the
date set forth above.

                                            MEMBER

                                            ASAIG, LLC

                                            By: Cortland Capital Market Services LLC, as
                                            Collateral Agent (exercising the voting rights of
                                            ASAIG, LLC, the Sole Member of the Aztec /
                                            Shaffer, LLC pursuant to that certain First Lien
                                            Security Agreement, dated as of February 13, 2019,
                                            by and among the Grantors and Cortland Capital
                                            Market Services LLC, as Collateral Agent and the
                                            power of attorney as well as the irrevocably proxy
                                            granted thereunder)

                                                 By: - - - -- - - - -- - - -
                                                 Name: Jon Kirschmeier
                                                 Title: Associate Counsel

                                            COMPANY

                                            AZTEC I SHAFFER, LLC

                                            By: ASAIG, LLC

                                                   By: Cortland Capital Market Services LLC,
                                                   as Collateral Agent (exercising the voting
                                                   rights of ASAIG, LLC, the Sole Member of
                                                   the Aztec / Shaffer, LLC pursuant to that
                                                   certain First Lien Security Agreement, dated
                                                   as of February 13, 2019, by and among the
                                                   Grantors and Cortland Capital Market
                                                   Services LLC, as Collateral Agent and the
                                                   power of attorney as well as the irrevocably
                                                   proxy granted thereunder)

                                                          By:---- - , - - - - -- --
                                                          Name: Jon Kirschmeier
                                                          Title: Associate Counsel
